 Case 21-10331-elf          Doc 36       Filed 09/28/21 Entered 09/29/21 12:06:43                  Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Marjorie A. Snyder aka Marjorie Aramburo
                              Debtor(s)                                              CHAPTER 13

PENNSYLVANIA HOUSING FINANCE AGENCY
                      Movant
          vs.
                                                                                  NO. 21-10331 ELF
Marjorie A. Snyder aka Marjorie Aramburo
                               Debtor(s)
Robert J. Snyder Jr.
                               Co-Debtor
                                                                           11 U.S.C. Sections 362 and 1301
William C. Miller Esq.
                                  Trustee

                                                    ORDER

         AND NOW, this 28th day of September             , 2021, upon failure of Debtor(s) and the Trustee to file
 and Answer or otherwise plead, it is:
         ORDERED THAT: the Motion for Relief from the Automatic Stay is GRANTED and that the
 automatic stay under 11 U.S.C. Section 362 and the Co-Debtor Stay under Section 1301 (as applicable) of the
 Bankruptcy Code, are MODIFIED with respect to the subject premises located at 5709 Torresdale Avenue,
 Philadelphia, PA, 19135 (“Property), so as to allow Movant, its successors or assignees, to proceed with its
 rights and remedies under the terms of the subject Mortgage and pursue its in rem State Court remedies
 including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing other
 loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of
 foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take
 any legal action for enforcement of its right to possession of the Property.




                                                              ERIC L. FRANK
                                                              UNITED STATES BANKRUPTCY JUDGE
